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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                        )
                                                  )
              Plaintiff,                          )
                                                  )
 v.                                               )        Case No. CR-21-252-TDD
                                                  )
 DALLAS TYLER EWTON,                              )
                                                  )
              Defendant.                          )

                                          ORDER

       Before the Court is the government’s unopposed Motion to Dismiss [Doc. No. 100].

Defendant is charged in a seventeen-count indictment [Doc. No. 18]. The government,

now, seeks to dismiss with prejudice Counts Ten, Eleven, Twelve, Fifteen, and Sixteen.

These include three counts charging Defendant with Sexual Abuse of a Ward in Indian

Country and two counts charging Defendant with Abusive Sexual Contact in Indian

Country. The Court denied the government’s first motion to dismiss these charges because

the government did not provide the reasons for the dismissals as required under United

States v. Derr, 726 F.2d 617, 619 (10th Cir. 1984). See Order [Doc. No. 94].

       A district court is typically required to grant the government’s motion to dismiss an

indictment, United States v. Romero, 360 F.3d 1248, 1251 (10th Cir. 2004), but “[r]ule

48(a) gives the district court power to deny the government's dismissal of an indictment if

dismissal is clearly contrary to manifest public interest.” United States v. Koerber, 10 F.4th

1083, 1103 (10th Cir. 2021) (internal quotation marks omitted). The decision to grant or
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deny a motion to dismiss under Rule 48(a) is reviewed for an abuse of discretion. United

States v. Giles, 213 F.3d 1247, 1248-49 (10th Cir. 2000).

       The government has now provided sufficient information for the Court to exercise

discretion in determining whether dismissals of these charges are compatible with or

contrary to manifest public interest. The motion states that the government included Counts

Ten, Eleven, Twelve, Fifteen, and Sixteen as alternate methods of alleging crimes charged

in other counts of the indictment. It also states that these counts fail to allege essential

elements of the charged offenses. The Court, therefore, finds that dismissals of these counts

are certainly compatible with manifest public interest. The government’s Motion to

Dismiss [Doc. No. 100] is GRANTED.

       IT IS THEREFORE ORDERED that Counts Ten, Eleven, Twelve, Fifteen, and

Sixteen of the Indictment [Doc. No. 18] are DISMISSED WITH PREJUDICE.

       IT IS SO ORDERED this 24th day of June, 2022.




                                                   TIMOTHY D. DEGIUSTI
                                                   UNITED STATES DISTRICT JUDGE




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